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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

STEVEN BROWN, et al.,                            *

                   Plaintiffs,                   *

         v.                                      *         No. 16-cv-945-RDB

DEPARTMENT OF PUBLIC SAFETY                      *
AND CORRECTIONAL SERVICES,
et al.                                           *

                   Defendants.                   *

*        *         *      *      *     *     *       *     *      *     *      *       *

                  DEFENDANTS’ MOTION IN LIMINE TO BAR PLAINTIFFS
                     FROM ADMITTING INFORMATION EXCHANGED
                         DURING SETTLEMENT DISCUSSIONS

         Defendants, the Maryland Department of Public Safety and Correctional Services

(“DPSCS”), Stephen Moyer, Dayena M. Corcoran and Richard Miller, former officers and/or

employees of the State of Maryland in both their official and personal capacities

(“Defendants”), hereby move for an order precluding Plaintiffs from admitting as evidence

at trial any information exchanged during settlement discussions between the parties.

             1.    After this case was filed, Plaintiffs and Defendants engaged in settlement

    discussions that resulted in the exchange of significant amounts of information.
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           2.     To facilitate these discussions, the parties entered into two written

    confidentiality agreements. These agreements are attached hereto as Exhibit 1 and

    Exhibit 2.1

           3.     The confidentiality agreements provide, in pertinent part, that information

    exchanged by the parties pursuant to settlement discussions is inadmissible as evidence

    in any court proceeding: “No person may rely on or introduce as evidence in any arbitral,

    judicial, or other proceedings, information pertaining to the resolution efforts.” Exhibit

    1.

           4.     More specifically, the agreements state that such inadmissible information

    includes, but is not limited to, “views expressed or suggestions made by a Party,” “the

    fact that another Party had or had not indicated willingness to accept a proposal for

    settlement,” and “proposals made or views expressed by the Parties, their agents, their

    consultants, State entity representatives or agents, or other persons.”

           5.     In light of the clear terms of the agreements signed by the parties, information

    exchanged in settlement discussions should not be admitted as evidence.

         WHEREFORE, for the reasons stated herein, Defendants respectfully request that

the Court enter an order barring Plaintiffs from introducing as evidence any information

exchanged in settlement discussions between the parties.




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 The confidentiality agreement attached as Exhibit 1 covers settlement information generally,
while Exhibit 2 more covered a specific meeting and tour of Roxbury Correctional Institution.


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                            Respectfully submitted,


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